                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                            Plaintiff, )
                                       )
       vs.                             )         Case No. 18-00153-01-CR-W-RK
                                       )
JOEL TUCKER,                           )
                                       )
                            Defendant. )


              DEFENDANT=S MOTION TO CONTINUE TRIAL SETTING

       COMES NOW the defendant, Joel Tucker, by and through his counsel, and

respectfully moves this Honorable Court to continue the trial of this matter from the joint

criminal docket of September 23, 2019, to the either week of the joint criminal docket of

April 20, 2020.       In support of this motion, the defendant offers the following

memorandum in support:

                           MEMORANDUM IN SUPPORT

       1.       On May 21, 2019, the defendant was charged way of superseding

indictment with 12 counts of interstate transportation of stolen money in violation of 18

U.S.C. § 2314, two counts of bankruptcy fraud in violation of 18 U.S.C. § 157, one count

of falsification of record in bankruptcy in violation of 18 U.S.C. §§ 1519 and 2, one count

of evasion of payment of taxes in violation of 26 U.S.C. § 7201, and a related forfeiture

allegation.


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       2.      Mr. Tucker was arraigned and has entered pleas of not guilty. The case

remained on the joint criminal docket of September 23, 2019.

       3.      This is a complex case involving allegations of fraud as to the purchase and

sale of debt as it relates to the statutes cited above. There is a significant volume of

discovery that needs to be reviewed.           Additional time is needed to consult with

appropriate financial experts as to the issues.

       4.      Undersigned counsel was retained to represent Mr. Tucker just this week

and filed a Notice of Appearance on August 30, 2019.

       5.      Undersigned counsel requires additional time to review discovery, meet

with Mr. Tucker, in order to have meaningful discussions with the United States

Attorney’s Office and to prepare for trial. A continuance to April 2020, will allow for

the parties to be fully prepared for trial, or in the alternative, to discuss a resolution of this

matter without the need for trial. A continuance of the trial setting will allow for them to

fully explore these options.

       6.      In light of the basis for the continuance request discussed above, the

undersigned represents to the Court that as to defendant, the benefits of excluding the

requested continuance for purposes of the Speedy Trial Act exceed the costs to defendant

of not excluding such time.

       7.      As to the interest of the public, a trial will require significant costs

including, but not limited to: (a) lost time and wages to a jury panel; (b) lost time and

wages to the jury itself; (c) lost time to the government, including law enforcement, that

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the government may have otherwise utilized to further its obligations to protect the

public; and (d) lost time to the Court that the Court may have otherwise utilized to hear

and to resolve various cases before it.

       8.       In light of these factors, the benefits to the public of excluding the

requested continuance for purposes of the Speedy Trial Act exceed the benefits to the

public of not excluding such time. Furthermore, the government does not oppose such

exclusion.

       9.       In sum, the defendant=s interests, the public=s interests and the government=s

interests in granting the requested extension outweigh the interests of the same parties in

not excluding such time pursuant to 18 U.S.C. ' 3161(h)(8)(A).                The defendant

understands that by virtue of his filing of this motion, any period of delay granted by the

Court shall be excluded in calculating the time within which his trial must commence

pursuant to 18 U.S.C. ' 3161(h)(1)(F) and hereby acknowledges and waives his right to a

speedy trial.

       10.      Undersigned counsel has contacted Assistant United States Attorney Kate

Mahoney, and she has no objection to a continuance of the trial now set for September

23, 2019, to either week of the joint criminal trial docket of April 20, 2020.




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       WHEREFORE, the defendant respectfully requests an Order from this Court

granting his motion to continue the trial setting from the joint criminal docket of

September 23, 2019, to either week of the joint criminal docket of April 20, 2020, and for

any further relief deemed just and proper in the premises.



                                          Respectfully submitted,


                                          WYRSCH HOBBS & MIRAKIAN, P.C.

                                          By:   /s/ James R. Hobbs
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                                          ATTORNEYS FOR DEFENDANT TUCKER




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 30th day of August, 2019, the
foregoing was electronically filed with the Clerk of the Court using the CM/ECF system
which sent notification of such filing to all counsel of record.



                                       /s/ James R. Hobbs
                                       Attorney for Defendant




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